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                          United States District Court
                           Middle District of Florida
                             Jacksonville Division

UNITED STATES OF AMERICA,
        Plaintiff,
v.                                                        NO. 3:24-cr-60-PDB

AUSTIN ENGLER,
        Defendant.



                               Clerk’s Minutes

Proceeding                  Sentencing
Date                        November 12, 2024
Time                        3:30–51 p.m.
Judge                       Patricia Barksdale, U.S. Magistrate Judge
Courtroom Deputy            Angela Loeschen
Counsel for Plaintiff       David Mesrobian, Assistant U.S. Attorney
Counsel for Defendant       Sabra Barnett, Assistant Federal Defender
Court Reporter              Kathy Healey
U.S. Probation Officer      Kyle McCrohan

Judge Barksdale previously adjudicated Mr. Engler guilty of count one of the
superseding information. Doc. 22 (superseding information); Doc. 29
(adjudication of guilt).

The parties had no objection to the PSR. The Court adopted the PSR.

Counsel made presentations.

The Court heard allocution from Mr. Engler.

Judge Barksdale imposed the following sentence:

     • A $10 special assessment to be paid immediately;

     • A $250 fine to be paid in monthly $50 payments; and
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   • $337.80 in restitution to be paid to the following: $50.40 to Victim 1; $225
     to Victim 2; and $62.40 to Victim 3.

Ms. Barnett stated that Mr. Engler is prepared to pay the special assessment
and restitution today.

Judge Barksdale advised Mr. Engler of his right to appeal, to counsel on
appeal, and to court-appointed appellate counsel if he cannot afford appellate
counsel.

Judge Barksdale asked the parties if they had any objection to the sentence or
the manner in which she imposed it. Neither side had an objection.

Judge Barksdale will enter judgment.




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